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                                                                                    Tonawanda


                                  10                                   4
                           Grand Island
                                                       11           Clarence
                                                                                Newstead
                                                       Amherst
                                       Tonawanda
                                                     6
                                                7
                                                2            8    Lancaster       Alden

                                           Buffalo

                                            3    West Seneca
                                          Lackawanna                   Elma     Marilla

                                                                  1
                                                     Orchard Park
                                                                      Aurora      Wales

       County subdivisions not defined Hamburg

                       9 Evans
                                         Eden            Boston       Colden     Holland



                       Brant
                                       North Collins
                                                         5                     Sardinia
                                                             Concord
                    Cattaraugus


                                          Collins
